               Case 22-11068-KBO              Doc 30180        Filed 04/21/25        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (KBO)

         Debtors.                                               (Jointly Administered)

                                                                Ref. Nos. 29197, 29861, 29430, 29994, 30064
                                                                & 30176

    OMNIBUS ORDER AWARDING FINAL ALLOWANCE OF COMPENSATION FOR
      SERVICES RENDERED AND FOR REIMBURSEMENT OF EXPENSES OF
                      CERTAIN PROFESSIONALS

         Upon consideration of certain final fee applications (each a “Final Fee Application” and,

together, the “Final Fee Applications”) of those professionals listed on Exhibit 1 attached hereto

(each an “Applicant” and, together, the “Applicants”) for final allowance of certain fees,

including all holdbacks, and expenses for the period set forth on each of the Final Fee

Applications (the “Compensation Period”), filed pursuant to the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the

“Interim Compensation Order”), the Order (I) Appointing Fee Examiner and (II) Establishing

Procedures for Consideration of Requested Fee Compensation and Reimbursement of Expenses

[D.I. 834] (the “Fee Examiner Order”), and the Findings of Fact, Conclusions of Law and Order

Confirming the Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd.

and Its Debtor Affiliates [D.I. 26404] (the “Confirmation Order”); and Katherine Stadler, as the

Court-appointed fee examiner (the “Fee Examiner”), having reviewed the Final Fee Applications

and prepared the Fee Examiner’s Summary Report on Final Fee Applications [D.I. 30064] (the

1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX.

{1368.003-W0081047.}
               Case 22-11068-KBO        Doc 30180      Filed 04/21/25     Page 2 of 3




“Final Report”) consistent with the terms of the Fee Examiner Order; and the Court having

reviewed the Final Fee Applications and the Final Report; and the Court having held a hearing

on April 17, 2025 on the Final Fee Applications; and the Court having overruled the objections

filed by Lidia Favario [D.I. 29430 & 29994]; and the Court finding that (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the Final Fee

Applications was adequate under the circumstances; and (c) all persons with standing have been

afforded the opportunity to be heard on the Final Fee Applications; and upon the full record of

all proceedings in this case; and after due deliberation and sufficient good cause having been

shown therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.   Each Final Fee Application is granted and approved as set forth herein.

                  2.   Each of the Applicants is allowed, on a final basis, compensation for

services rendered during the Compensation Period and reimbursement for actual and necessary

expenses incurred during the Compensation Period in the amounts set forth on Exhibit 1 hereto,

including any and all holdbacks.

                  3.   To the extent not already paid pursuant to the Interim Compensation

Order, the FTX Recovery Trust is authorized and directed to pay each of the Applicants one-

hundred percent (100%) of the fees and one-hundred percent (100%) of the expenses listed on

Exhibit 1 hereto that have not yet been paid in satisfaction of the allowed fees for services

rendered and expenses incurred during the Compensation Period.

                  4.   This Order shall be deemed a separate order with respect to each of the

Final Fee Applications. Any stay of this Order pending appeal with respect to any one Applicant

shall only apply to the particular Applicant that is the subject of such appeal and shall not operate



{1368.003-W0081047.}                             2
             Case 22-11068-KBO          Doc 30180       Filed 04/21/25     Page 3 of 3




to stay the applicability and/or finality of this Order with respect to any of the other Applicants.

               5.       The FTX Recovery Trust is authorized and empowered to take such

actions as may be necessary and appropriate to implement the terms of this Order.

               6.       This Court shall retain jurisdiction to hear and determine any and all

matters arising from or related to the implementation, interpretation, and/or enforcement of this

Order.




   Dated: April 21st, 2025                             KAREN B. OWENS
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE

                                                  3
